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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

MATTHEW GROGAN, LATIA
BRYANT, CHAD SEVERSON and
SERGE BELOZEROV, on behalf of
themselves and all others similarly
situated,

                   Plaintiffs,

           v.                                 CIVIL ACTION NO.: 1:18-CV-02821-JPB
AARON’S INC.,
                   Defendant.


                     ORDER GRANTING FINAL APPROVAL
                       OF CLASS ACTION SETTLEMENT

      The Court having held a Final Approval Hearing on October 1, 2020, having

entered an Order Granting Preliminary Approval of Proposed Settlement

Agreement (the “Preliminary Approval Order”) [Doc. 97] and notice of the Final

Approval Hearing been duly given in accordance with this Court’s Preliminary

Approval Order,

      IT IS HEREBY ORDERED AS FOLLOWS:

      1.        Capitalized terms used in this Order that are not otherwise defined

herein have the same meaning assigned to them as in the Settlement Agreement.




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      2.     The Court has jurisdiction over the subject matter of this case, all

claims raised therein, and all Parties thereto, including the members of the

Settlement Class.

      3.     The members of the Settlement Class, who will be bound by this Final

Approval Order, shall include all members of the Settlement Class who did not

submit a timely and valid Request for Exclusion. The members of the Settlement

Class who have timely requested exclusion are identified in Exhibit A hereto.

      4.     Plaintiffs Matthew Grogan, Chad Severson, LaTia Bryant and Serge

Belozerov (collectively, “Plaintiffs”) shall serve as Class Representatives of the

Settlement Class.

      5.     The Court appoints the following counsel as Class Counsel on behalf

of Plaintiffs and the Settlement Class: Matthew Wilson, Meyer Wilson, Co., LPA.;

and Jonathan D. Selbin and Daniel M. Hutchinson of Lieff Cabraser Heimann &

Bernstein, LLP.

      6.     For purposes of the Settlement and this Final Approval Order, the

Settlement Class is defined as:

             All persons in the United States:
             a.     who were the subscribers or customary users of a telephone
                    number that was Called by Defendant;
             b.     with the Genesys Interactive Intelligence System and/or an
                    artificial or prerecorded voice;
             c.     from June 8, 2014 through the entry of the Preliminary
                    Approval Order on May 1, 2020; and



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             d.    where that telephone number has been associated with a wrap-
                   up code of “wrong party” at any time in Defendant’s records.

      7.     Excluded from the Settlement Class are all persons who validly and

timely elected to exclude themselves from the Settlement Class, Aaron’s, its parent

companies, affiliates or subsidiaries, and any entities in which such companies

have a controlling interest, the Court and staff to whom this case is assigned and

any member of the Court’s or staff’s immediate family.

      8.     The Court finds, solely for purposes of considering this Settlement,

that the requirements of Federal Rule of Civil Procedure 23(a) are satisfied,

including requirements for the existence of numerosity, commonality, typicality

and adequacy of representation.

      9.     The Court further finds, solely for the purposes of considering this

Settlement, that the requirements of Federal Rule of Civil Procedure 23(b)(3) are

satisfied, including the manageability of the Settlement Class for settlement

purposes, that common issues of law and fact predominate over individual issues

and that Settlement and certification of the Settlement Class is superior to

alternative means of resolving the claims and disputes at issue in this case.

      10.    The Court concludes that the Class notice and claims submission

procedures set forth in the Settlement Agreement fully satisfy Rule 23 of the

Federal Rules of Civil Procedure, satisfy the requirements of due process and were

the best notice practicable, under the circumstances, in that the Class Notice



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provided individual notice to all Settlement Class Members who could be

identified through reasonable effort. The Class notice and claims submission

procedures set forth in the Settlement Agreement support the Court’s exercise of

jurisdiction over the Settlement Class as contemplated in the Settlement and this

Order.

      11.     The Court finds that Aaron’s provided Class Action Fairness Act

notice to the appropriate state and federal officials pursuant to 28 U.S.C. § 1715 on

May 8, 2020, which was within ten days of the filing of the Preliminary Approval

Motion [Doc. 93], and that more than ninety days has passed without comment or

objection from any governmental entity.

      12.     The Court finds that the Settlement, as set forth in the Settlement

Agreement and this Order satisfies each of the requirements of Federal Rule of

Civil Procedure 23(e)(2) and is in all respects fair, adequate, and reasonable.

      13.     The Court finds, after reviewing the submissions by the Parties, that

there are no side agreements required to be identified pursuant to Federal Rule of

Civil Procedure 23(e)(3).

      14.     The Court finds that the Class Representatives and Class Counsel

have adequately represented the Class. The Court finds that the Class

Representatives and Class Counsel vigorously and effectively represented the

Class through the filing of a motion for class certification.




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      15.    The Court finds that the Settlement was negotiated at arm’s length,

with the assistance of an experienced mediator, and without collusion.

      16.    The Settlement is non-reversionary and is proposed to be distributed

on a pro-rata basis, a method that is well-established as fair.

      17.    The Court finds that the relief provided by the Settlement is fair,

adequate, reasonable and in the best interests of the Settlement Class, when

measured against, among other things, the costs, risk, and delay of trial and appeal.

      18.    The Court also finds that because the Settlement provides an equal pro

rata distribution of the Settlement funds, the Settlement treats all Class Members

equitably to one another.

      19.    The Court has duly considered the sole objection and finds that

because it does not implicate any of the Settlement terms, the objection does not

weigh against settlement approval.

      20.    For these reasons, the Court grants final approval of the Settlement.

The Parties shall effectuate the Settlement Agreement according to its terms. The

Settlement Agreement and every term and provision thereof shall be deemed

incorporated herein as if explicitly set forth and shall have the full force of an

Order of this Court.

      21.    Upon the Effective Date, the Settlement Class Members shall have, by

operation of this Final Approval Order, fully, finally and forever released,




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relinquished and discharged the Released Parties from all Released Claims

pursuant to Section 13 of the Settlement Agreement.

      22.    Settlement Class Members are hereby permanently barred and

enjoined from instituting, commencing or prosecuting, either directly or in any

other capacity, any Released Claim against any of the Released Parties.

      23.    This Final Approval Order, the Final Judgment, the Settlement

Agreement, the Settlement which it reflects, and any and all acts, statements,

documents or proceedings relating to the Settlement are not, and shall not be

construed as or used as an admission by or against Aaron’s or any other Released

Party of any fault, wrongdoing, or liability on their part, or of the validity of any

Released Claim or of the existence or amount of damages.

      24.    The claims of the Class Representatives and all members of the

Settlement Class in this case are hereby dismissed in their entirety with prejudice.

Except as otherwise provided in this Order and/or in this Court’s Order Awarding

Attorneys’ Fees and Expenses in this case, entered in response to Class Counsel’s

motion therefor brought in connection with the Settlement, the Parties shall bear

their own costs and attorneys’ fees.

      25.    In the event that Aaron’s asserts any provision of the Settlement

Agreement or this Order as a defense in whole or in part (including, without

limitation, as a basis for a stay) in any other suit, action or proceeding brought by a




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Settlement Class Member or any person actually or purportedly acting on behalf of

any Settlement Class Member(s), Aaron’s shall be entitled to seek and obtain a

stay of that that suit, action or other proceeding until this Court, or the court or

tribunal in which the claim is pending, has determined any issues related to such

defense or assertion. Solely for purposes of such suit, action, or other proceeding,

to the fullest extent they may effectively do so under applicable law, the parties

irrevocably waive and agree not to assert, by way of motion, as a defense or

otherwise, any claim or objection that they are not subject to the jurisdiction of the

Court, or that the Court is, in any way, an improper venue or an inconvenient

forum. These provisions are necessary to protect the Settlement Agreement, this

Order and this Court's authority to effectuate the Settlement.

      26.    The Court reserves jurisdiction over the implementation of the

Settlement, including enforcement and administration of the Settlement

Agreement, including any releases in connection therewith and any other matters

related or ancillary to the foregoing.

      27.    If for any reason the Settlement terminates pursuant to Section 14.01

of the Settlement Agreement, then certification of the Settlement Class shall be

deemed vacated. In such an event, the certification of the Settlement Class for

settlement purposes or any briefing or materials submitted seeking certification of

the Settlement Class shall not be considered in connection with any subsequent




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class certification issues, and the Parties shall return to the status quo ante in the

Action pursuant to Section 14.02 of the Settlement Agreement, without prejudice

to the right of any of the Parties to assert any right or position that could have been

asserted if the Settlement Agreement, and all other papers that have been filed with

the Court related to the Settlement Agreement had never been reached or proposed

to the Court.

      28.       The Court, in its discretion, approves the payment from the Settlement

Fund of claims submitted or postmarked by October 1, 2020.

      29.       Having reviewed the Motion for Approval of Attorneys’ Fees,

Expenses and Incentive Awards [Doc. 102], the Court approves payment of

attorneys’ fees and expenses in the amount of one-third of the Settlement Fund

($725,000.00). These amounts shall be paid from the Settlement Fund in

accordance with the terms of the Settlement Agreement. The Court, having

considered the materials submitted by Class Counsel in support of their Motion for

Final Approval and Motion for Approval of Attorneys’ Fees, Expenses, and

Incentive Awards, finds the award of attorneys’ fees, costs and expenses

appropriate and reasonable for the following reasons:

                a.    First, the Court finds that the Settlement provides substantial

benefits to the Settlement Class.




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             b.     Second, the Court finds the payment fair and reasonable in light

of the substantial work performed by Class Counsel.

             c.     Third, the Court concludes that the Settlement was negotiated at

arm’s length without collusion and with the assistance of an experienced mediator.

             d.     Finally, the Court notes that the Class Notices specifically and

clearly advised the Settlement Class that Class Counsel would seek an award up to

an amount greater than the amount sought.

      30.    The Court denies the Incentive Awards for the Class Representatives

because the Eleventh Circuit Court of Appeals, to which this Court is bound,

recently prohibited the type of incentive award sought in this case (i.e., an

incentive award that compensates a class representative for his time and rewards

him for bringing a lawsuit). See Johnson v. NPAS Sols., LLC, No. 18-12344,

2020 WL 5553312, at *12 (11th Cir. Sep. 17, 2020). The denial, however, is

without prejudice to refile the motion should Plaintiffs so choose. After the stale

date for the first round of pro rata distribution checks, Class Counsel may move for

Incentive Awards to be paid from the portion of the Settlement Fund remaining.

No second pro rata distribution or cy pres payment will be made until such a

motion is resolved, or until Class Counsel notifies the Claims Administrator and




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counsel for Defendant that no motion will be filed. In the event the Court grants a

Motion for Incentive Awards, such Awards will be paid from the remainder of the

Settlement Fund. The potential for a future Motion for Incentive Awards shall not

affect the finality of this Order or the time to appeal from it or from a Final

Judgment.

      31.    The Court finds that no reason exists for delay in entering this Final

Order. Accordingly, the Clerk is directed to enter this Final Order and the

accompanying Final Judgment pursuant to Federal Rule of Civil Procedure 54(b).

      32.    The Parties, without further approval from the Court, are hereby

permitted to agree to and adopt such amendments, modifications and expansions of

the Settlement Agreement and its implementing documents (including all exhibits

to the Settlement Agreement) so long as they are consistent in all material respects

with the Final Order and Final Judgment and do not limit the rights of the

Settlement Class Members.

      33.    Without affecting the finality of this Final Order or the Final

Judgment for purposes of appeal, the Court retains jurisdiction as to all matters

related to the administration, consummation, enforcement and interpretation of the




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Settlement Agreement and this Final Order and accompanying Final Judgment, and

for any other necessary purpose.

      SO ORDERED this 8th day of October, 2020.




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